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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE NORTHERN DISTRICT OF WEST VIRGINIA

S.L., A MINOR, BY AND THR()UGH
HER PARENT AND LEGAL GUAR])IAN D.L.

Plaintil`f,
v. 7 CIVIL ACTION NO. 3:18-CV-162
(Groh)
CITY HOSPITAL, INC. dib/a BERKELEY MEDICAL CENTER,
A subsidiary of WEST VIRGINIA UNIVERSITY
HOSPITALS-EAST, INC., d]b/a
WV UNIVERSITY HEALTHCARE,
Defendant.

DEFENDANT CITY HOSPITAL, INC. d/b/a BERKELEY MEDICAL CENTER, A
SUBSIDIARY OF WEST VIRGINIA UNIVERSITY HOSPITALS-EAST, INC. dib/a WV
UNIVERSITY HEALTHCARE’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
MOTION FOR LEAVE TO FILE A SECON]) AMENDED COMPLAINT FOLLOWING
FIL[NG OF NOTICE OF CLAIM AND STATEMENT SETTING FORTH THE BASIS
OF ALLEGED LIABILITY

NOW COMES the Defendant, City Hospital, Inc. dfbfa Berkeley Medicai Center, a
subsidiary of West Virginia University Hospitals-East, Inc. d/b/a WV University Healtheare
(“BMC”), by and through its counsel, and submits this Response ln Opposition To Plaintifi’s
Motion For Leave To File A Second Amended Complaint Following Filing Of Notice Of Claim
And Statement Setting Forth The Basis Of Alleged Liability.

On Februal'y 22, 2019, this Coul't dismissed Counts III (Intentional lnfliction of
Emotional Distress) and IV (Battery) of Plaintist First Amended Complaint as a result of
Plaintiff’s failure to comply with the requirements of the Medical Professiona.l Liability Act
(“MPLA”). In doing so, the Court ordered that Plaintiff has thirty days in Which to comply With

the requirements of the MPLA With respect to these Counts. [ECF 26, p. 9].

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On March 22, 2019, Plaintiff filed a Motion for Leave to File Second Amended
Complaint Following Filing Notice of Claim and Statement Setting Forth the Basis of Alleged
Liability (“Motion for Leave”). [ECF 30]. The Motion for Leave is premature and inconsistent
With the Court’s Order and the MPLA’s Notice of Claim (“NOC”) provision ln addition,
Plaintiff" s Statement Setting Forth the Basis of Liability In Lieu of Certificate of Merit
(“Statement”) is insufficient because expert testimony is necessary given the complex medical
issues presented Within Counts III anle, and thus, a screening Certificate of Merit (“COM”)
should have been provided Accordingly, BMC opposes Plaintiff’s Motion for Leave as Plaintiff
has still failed to comply With the MPLA as it relates to Counts HI and IV.

I. Plaintiff’s “Motion for Leave” is Premature as Plai;ltif'f` has got complied with
the MPLA.

The Notice of Claim is the foundational element of the MPLA. The MPLA states, “no
person may file a medical professional liability action against any healthcare provider without
complying With the provisions of this section.” W. Va. Code §55-7B-6(a). The NOC provision
exists “(l) to prevent the making and filing of frivolous medical malpractice claims and lawsuits;
and (2) to promote the pre-suit resolution of non-frivolous medical malpractice claims.” Roy v.
D’Amato, 218 W. Va. 692, 697, 629 S.E.Zd 751, 756 (2006). The Notice triggers a thirty day
waiting period prior to the filing of a complaint in Which the Notice-recipient can investigate and
analyze the basis of the claim against it, determine its legitimacy, and request pre-suit mediation
if Defendant believes the same to be necessary.

Plaintiff filed her Motion for Leave With an attached “Seconded Amended Complaint” in
an attempt to file said Complaint upon the Court’s grant of leave to do so. BMC did not receive
the NOC until Tuesday, March 26. Assuming the NOC’s filing date is March 22, along With the

other two documents filed, Plaintiff’s Complaint may not be filed until April 22“d. The Court

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cannot grant Plaintiff leave to file the Second Amended Complaint any earlier than April 22nd
because Plaintiff again will have failed to comply with the MPLA’s notice provision.1
Filing the Complaint earlier than the time period prescribed in the statute robs BMC of its
opportunity for pre-suit analysis as the MPLA intends. Westmoreland v. Vaidya, 222 W. Va. 205,
210, 664 S.E.2d 90, 95 (2008) (citing Syl. Pt. 2, Hinchman v. Gillette, 217 W. Va. 378, 618
S.E.2d 387 (2005)). Because Plaintist “Motion for Leave to File” is premature and
noncompliant With the MPLA’s NOC provision, BMC opposes Plaintiff’s Motion for Leave.

II. Plaintif`f"s assert_ion of battery and intentional inf`lict_ion of el_notional distress
requires a Certificate of Merit.

In a medical malpractice case that is procedurally compliant With the MPLA, the claimant
will file a NOC and a COM together, or a statement of intent to file a COl\/l,2 thirty days before a
complaint could potentially be filed, depending on the defendant’s response to the NOC. Within:
Thirty days of receipt of the claim or Within thirty days of receipt
of the screening certificate of merit . . . [the healthcare provider]
may respond, in Writing, to the claimant [and] state that the health
care provider has a bona fide defense and the name of the health
care provider’s counsel . . . If the healthcare provider demands
mediation . . . [it] shall be concluded within forty-five days of the
date of the Written demand.
W. Va. Code § 55-7B-6(f) and (h).
MPLA jurisprudence has developed this point further, and the West Virginia Supreme
Court of Appeals has found that “[b]efore a defendant in a lawsuit against a healthcare provider

can challenge the legal sufficiency of a plaintiff[’]s pre-suit notice of claim or screening

 

1 This assumes that BMC does not elect pre-suit mediation, which must be conducted within forty-live days of the
date of the NOC, and would further delay the filing of Plaintiff"s Second Amended Complaint W. Va. Code § 55-
7B-6(h).

2 See W. Va. Code § 55-7B-6(d): “The claimant shall comply with the provisions of subsection (b) of this section
except that the claimant or his or her counsel shall furnish the health care provider with a statement of intent to
provide a screening certificate of merit within sixty days of the date the health care provider receives the notice of
claim_”

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certificate merit under W. Va. Code, 55-7B_6 [(2003) (Supp. 2007)], the plaintiff must have
been given written and specific notice of, and an opportunity to address and correct, the alleged
defects and insufficiencies.” Westmorelana', 222 W. Va. at 210~11, 664 S.E.2d at 95-96 (citation
omitted); see also Gray v. Mena, 218 W. Va. 564, 569, 625 S.E.2d 326, 331 (2005) (Defendant
“must identify with particularity each alleged insufficiency or defect in the notice and certificate
and all specific details requested by the defendant.”). Case law is clear that a defendant’s failure
to express its objections to the CQM will result in waiver of those objections after the suit is
filed. Butts v. Berlceley Med. Ctr., No. 3:16-CV-53, 2016 WL 11504761, at *2 (N.D.W. Va. July
20, 2016) (“Failure to make such a request or to promptly object to the notice of claim or
the certificate of merit waives a defendant’s ability to object to the notice or the certificate once
suit has been filed.”).

As a result of Plaintiff’ s failure to comply with the procedural elements of the MPLA,
BMC is unable to move forward with its typical procedure, i.e., receipt of NOC and
COM/Statement, response to claimant with a letter 1) seeking pre-suit mediation, 2) stating an
intent to defend, or 3) objecting to defects and insufficiencies in the NOC or COM/statement in
lieu of a COM. Instead, Plaintiff has filed the Motion for Leave, leaving BMC With no option but
to respond to the Motion currently under the Court’S consideration or lrisk waiver of its
objections

Because it must proceed in response to Plaintist current Motion, BMC herein states its
opposition to the Motion for Leave and rejects Plaintiff"s contention that “no screening
certificate of merit is required under W. Va. Code § 55-7B-6 for [battery and intentional
infliction of emotional distress] because they do not require expert testimony supporting a breach

of the applicable standard of care.” [Notice of Claim, p.3].

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Plaintiff’ s Statement repeats the facts from her First Amended Complaint It is unclear
whether Plaintiff alleges that physicians, who are not, and were not, agents, servants, or
employees of BMC,3 are ultimately responsible for ordering and thereby committing the alleged
medical malpractice or if only nurses or other medical personnel who are more likely to be
employed by BMC are the targets of these allegations lt is also unclear exactly Which actions
Plaintiff asserts to have fallen below the standard of care and What standard applies in the
situation that occurred during Plaintiff’ s visit to the Emergency Department.

These are details that should be provided to a defendant in the statement of liability thirty
days before the complaint is filed, yet here, BMC still knows as much about the battery and
intentional infliction of emotional distress claims as it did when Plaintiff failed to appropriately
file her action pursuant to the MPLA the first time. This is due to the fact that Plaintiff"s
Statement is based on an incomplete reading of W. Va. Code 55-7B-6(c).

This Code section requires more than assigning liability on the basis of any well-
established theory of legal liability,4 like battery and intentional infliction of emotional distress.
lt requires that a plaintiff put forth a claim based “upon a well-established legal theory of liability
which does not require expert testimony supporting a breach of the applicable standard of
care ” W. Va. Code § 55-7B-6 (emphasis added); see O’Neil v. United States, No. CIV.A. 5:07-

CV-00358, 2008 WL 906470, at *4 (S.D.W. Va. Mar. 31, 2008).

 

3 See Burless v. West Virginia University Hospitals, Inc., 215 W. Va. 765, 601 S.E.2d. 85 (2004); West Virginia
Code §§18-llC-4(d); 18B-2A-4(p), (w), and (z). BMC is not subject to liability for the alleged negligent acts of
physicians or any other faculty or resident physician who provided care to Plaintiff under a theory of ostensible
agency. See West Virginia Code §55-7B-9(g): “A health care provider may not be held vicariously liable for the
acts of a nonemployee pursuant to a theory of ostensible agency unless the alleged agent does not maintain
professional liability insurance covering the medical injury which is the subject of the action in the aggregate
amount of at least one million dollars.”

4 Plaintiff states that a COM is not required because this action is “based upon well-established legal theories of
liability for battery and intentional infliction of emotional distress.” [Statement, p. 3].

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This is the connection that Plaintiff fails to make because she has not identified the
standard of care applicable to the treatment Plaintiff received. Plaintist characterization of the
treatment she received in the emergency department is reduced to the conclusory statement that a
lay juror would have the common knowledge and experience to understand that Plaintiff was
“without justification and without [her mother’s] consent pushed to the floor, forcibly restrained,
and strapped to a gurney . . . [and] given stitches and administered medications without [her
mother’s] consent.” [Notice of Claim, p. 4]. This sentence itself is loaded with assumptions
regarding the standard of care and appropriate methods for treating a combative pediatric patient
It is a reductive view of the'complex encounter with which the healthcare providers were faced
when providing treatment to S.L. and certainly falls short of this Court’s recommendation that a
plaintiff “should ensure that as much conceivably relevant information as possible is included in
the certificate of merit, to avoid unnecessary confusion and to best allow for pre-suit resolution
of substantial claims.” Butts at *4.

A lay juror’s presumed understanding of the concepts of withdrawal of consent and
battery are not enough to determine the factual issues presented by this medical malpractice
action. This action presents intricate issues_ “technical medical decision[s], which [are] not
within the ordinary and common knowledge of the average lay juror[]” Banfi v. Am. Hosp. for
Rehab., 207 W. Va. 135, 141, 529 S.E.2d 600, 606 (2000)_ regarding the standard of care for
the treatment of a child with Autism and one who became combative towards the treating
providers This action presents complex issues regarding hospital personnel’s ability to restrain a
violent patient for the protection of the patient and themselves; the appropriate amount of force,
physical and chemical, to be applied to a combative patient; the appropriate and medically

indicated methods for restraining a pediatric patient; the ethical obligations of healthcare

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providers when treating patients generally and Autistic pediatric patients specifically; and when
consent is or is not required in rendering medical care.

These subjects are not within the purview of the lay jury. The question of whether expert
testimony is required in a medical malpractice action hinges upon whether the “lack of care or
want of skill is so gross, so as to be apparent, or the alleged breach relates to noncomplex matters
of diagnosis and treatment within the understanding of lay jurors by resort to common
knowledge and experience.” O'Neil, 2008 WL 906470 at *4.

Plaintiff’s allegations involve the question of Whether appropriate treatment was rendered
to Plaintiff and the many related issues stated above that call into question matters of healthcare
ethics, independent provider judgment, nationally recognized policy standards and management
of the unique needs of a disabled patient. Of` material import is the fact that the treatment
rendered involved the use of restraint, precipitated by S.L.’s violent reaction towards the
providers The issue of appropriate restraint against a patient has been determined by the West
Virginia Supreme Court of Appeals, and many other courts, to require expert testimony: “Our
research indicates that the majority of jurisdictions considering the question of whether
restraining a patient is, in fact, a technical medical decision have concluded that it is a complex
determination, and therefore expert testimony is required to educate the jury as to the appropriate
standard of care.” Banji, 207 W. Va. at 141, 529 S.E.2d at 606. Furthermore, the use of restraints
on a patient is a unique ethical issue driven by national standards hospital policy and procedure,

and a physician’S independent medical judgment5

 

5 “Restraints may be necessary to prevent patients from harming themselves or others while in the hospital This
need must be balanced against the potential for the patient's loss of dignity, physical harm, psychological harm, or
violation of community standards specific to restraining patients Hospital staff, in collaboration with physicians
must establish criteria for the use of restraints, establish policies and procedures for the ordering, monitoring, and
safe use of restraints, and ensure that physicians and nurses understand and follow the criteria, policies, and
procedures Restraints may be chemical, such as sedating medications; or physical, including wrist and/or ankle

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Entwined in the question of whether restraint of this patient was appropriate is Plaintiff s
allegation of the withdrawal of consent, resulting in the battery and intentional infliction of
emotional distress claims A physician may be liable for the commission of a battery in the
“performance . . . of an operation or other treatment without first obtaining any consent from the
patient . . . .” 61 Am. lur. 2d Physicians, Surgeons, Etc. § 149.6 However, this legal action does
not present a simple question of whether a provider rendered care despite the protest of the
patient’s guardian.7 The question is whether the healthcare providers met the standard of care for
treating a combative patient and whether, as a result of such failure, the healthcare providers
unlawfully proceeded with rendering treatment after consent Was withdrawn This standard can
only be proven in this case with an expert witness who will opine as to the standard of care
required when treating a combative pediatric patient with Autism. A question of this complexity
does not fit within the narrow “common knowledge” exception that negates the general
requirement for expert testimony. Totten v. Adongay, 175 W. Va. 634, 638, 337 S.E.2d 2, 6
(1985). At its core, Plaintiff"s claim is one that “challenges an implicit part of the medical
treatment” and she should not be able “to avoid the requirement of an expert medical opinion
simply by claiming medical battery or something other than medical malpractice.” Holzrichter v.

Yorath, 2013 IL App (lst) 110287, 1[ 88, 987 N.E.2d l, 19.

 

restraints; rarely, vest restraints; and more frequently the use of bedrails as a form of restraint.” Arthur Shorr,
Hospital Negligence: Legal and Administrative Issues, Use of Restraints § 5:4 (Dec. 2018 Update).

6 West Virginia has not established a medical battery statute nor has the common law been developed; however,
other states have defined the elements of medical battery to include: “(l) no consent to the medical procedure
performed; (2) the procedure was contrary to the injured party’s will', or (3) substantial variance of the procedure
from the consent granted.” Holzriehter v. Yorath, 2013 IL App (1st) 110287, 11 83, 987 N.E.2d l, 17-18; see also
Lipp v. Kun)er, 2003-Ohio-3988, 1| 25, “ln a medical setting, a physician who treats apatient without consent
commits a battery, even though the procedure is harmless or beneficia .”

7 BMC disputes Plaintiff’ s allegation that consent was withdrawn by patient’s mother, but states it as fact for the
purposes of this Response.

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Ultimately:

In determining whether a notice of claim and certificate are legally
sufficient, a reviewing court should apply W. Va. Code, 55_7B-6
[2003] in light of the statutory purposes of preventing the making
and filing of frivolous medical malpractice claims and lawsuits;
and promoting the pre-suit resolution of non-frivolous medical
malpractice claims Therefore, a principal consideration before a
court reviewing a claim of insufficiency in a notice or certificate
should be whether a party challenging or defending the sufficiency
of a notice and certificate has demonstrated a good faith and
reasonable effort to further the statutory purposes
Hinchman, 217 W. Va. at 386, 618 S.E.2d at 395.

In proffering a Statement that does nothing rnore than repeat the disputed facts of her
First Amended Complaint, Plaintiff has failed to demonstrate a good faith and reasonable effort
to promote the goals of preventing frivolous medical malpractice claims In order to sufficiently
set forth Plaintiff"s battery and intentional infliction of emotional distress claims, which this
Court has already determined to be grounded in medical malpractice, Plaintiff must fmd an
expert to assert the Standard of care applicable to the patient’s condition and presentation during
the period in question. The treatment provided to this patient does not fall within the narrow _
exception to the general rule that expert testimony is necessary in medical malpractice cases as
such treatment is beyond the ken of an average lay juror. As a result, Defendant objects to
Plamtiff’s Statement as deficient and rejects the notion that such Statement satisfies the statutory
requirements and purposes of W. Va. Code § 55-7B-6.

WHEREFORE, Defendant BMC respectfully submits its Response in Opposition To
Plaintiff’s Motion For Leave To File A Second Amended Complaint Following Filing Of Notice
Of Claim And Statement Setting Forth The Basis Of Alleged liability and its objections to
Plaintist Statement and requests that this Honorable Court find that Plaintiff failed to comply

with the MPLA and this Court’s February 22, 2019 Order Granting Motion to Dismiss in Part;

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deny Plaintiff’s Motion for Leave; and, provide such other and further relief as the Court deems
appropriate
Respectfully submitted this 27th day of March, 2019.

CITY HOSPITAL, INC. d/b/a BERKELEY MEDICAL
CENTER, A subsidiary of WEST j VIRGINIA
UNIVERSITY HOSPITALS-EAST, INC., d/b/a

WV UNIVERSITY HEALTHCARE

By Counsel

/s/ Joshua K. Boggs

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN ])ISTRICT OF WEST VlRGINIA

S.L., A l\/[INOR, BY AND THROUGH
HER PARENT AND LEGAL GUARDIAN D.L.

Plaintiff,

v. CleL ACTIoN No. 3:18-Cv-162
(Groh)

CITY HOSPITAL, INC. dlb/a BERKELEY MEDICAL CENTER,
A subsidiary of WEST VIRGINIA UNIVERSITY
HOSPITALS-EAST, INC., dlhla

WV UNIVERSI'I`Y HEALTHCARE,

Defendant.
CERTIFICATE OF SERVICE

I, Joshua K. Boggs, do hereby certify that l have electronically filed and caused to be
served this 28th day of March, 2019, the foregoing “DEFENDANT C_ITY HOSPITAL, INC.
d/b/a BERKELEY MEDICAL CENTER, A SUBSIDIARY OF WEST VIRGINIA
UNIVERSITY HOSPITALS-EAST, INC. d/b/a WV UNIVERSITY HEALTHCARE’S
RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE A
SECOND AMEN])ED COMPLAINT FOLLOWING FILING OF NOTICE ()F CLAIM
AND STATEMENT SETTING FORTH THE BASIS OF ALLEGED LIABILITY” via the
United States Northem District Court for the Northem District of West Virginia’s CM/ECF:

Shawna White
Disability Rights of West Virginia
1207 Quarrier Street
Charleston, WV 25301
Counselfor Plaintijj¢

ls/ Joshua K. Boggs
Joshua K. Boggs (W. Va. State Bar No. 10096)

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